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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                     Case No.: 18cv0428 DMS (MDD)
12                           Petitioners-Plaintiffs,
                                                           ORDER FOLLOWING STATUS
13     v.                                                  CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
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                         Respondents-Defendants.
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18           A status conference was held on July 9, 2018. Lee Gelernt appeared and argued for
19    Plaintiffs and Sarah Fabian appeared and argued for Defendants. After consulting with
20    counsel and being advised of the status of the case, IT IS HEREBY ORDERED:
21    1.     On or before 6:00 p.m. on July 9, 2018, counsel shall submit the following
22    documents to the Court:
23           a.     A joint status report on the issue of the procedures to be followed for the
24           reunification of children and Class Members who have been released from ICE
25           custody. To the extent counsel have agreed on the procedures, they should submit a
26           joint motion and proposed order for the Court’s review. To the extent there is
27           disagreement, each side should set out its respective proposal and specify the
28           disagreements that require court resolution

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 1          b.    A proposed notice to be provided to the Class.
 2    2.    On or before 10:00 a.m. on July 10, 2018, counsel shall submit a joint status report
 3    setting forth how many Class Members have been or will be reunited with their children
 4    by the court-imposed deadline, and how many Class Members may not be reunited with
 5    their children by the court-imposed deadline due to legitimate logistical impediments that
 6    render timely compliance impossible or excusable, e.g., detention of the Class Member in
 7    criminal custody or removal of the Class Member from the United States. For the latter
 8    group, counsel should explain why reunification may not be completed, and provide a
 9    timeframe for those reunifications.
10    3.    A further status conference shall be held at 11:00 a.m. on July 10, 2018.
11    4.    The Court has set up a dial in number for counsel and any members of
12    the news media that wish to attend. This number is for counsel and media
13    only, who should follow the steps below to connect to the conference call.
14    Members of the general public may appear in person.
15          1.    Dial the toll free number: 877-873-8018;
16          2.    Enter the Access Code: 9911153 (Participants will be put on hold
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                  until the Court activates the conference call);
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            3.    Enter the Participant Security Code 07100428 and Press # (The
19
                  security code will be confirmed);
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            4.    Once the Security Code is confirmed, participants will be prompted
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                  to Press 1 to join the conference or Press 2 to re-enter the Security
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                  Code.
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       Dated: July 9, 2018
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